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 8                           UNITED STATES DISTRICT COURT

 9                          SOUTHERN DISTRICT OF chLIFORNIA

10                                June 2017
                                               Grand Jury       18 CR 202 5 H
11   UNITED STATES OF AMERICA,                 Case No.

12                     Plaintiff,
                                                ! ~ Qt~ f 1'. ~ ~ ~       T
13         v.                                   Title 18, U.S.C., Sec. 371 -
                                                Conspiracy; Title 18, U.S.C.,
14   ARIEL BOITEUX,                             Sec. 875(d) - Foreign Transmission
                                                of an Extortionate Threat;
15                     Defendant.               Title 18, U.S.C.,
                                                Sec. 981 (a) (1) (C), and Title 28,
16                                              U.S.C., Sec. 246l(c) - Criminal
                                                Forfeiture
17
18        The grand jury charges:

19                                          Count 1

20                                    18   u.s.c.   §   371

21        1.    Beginning at     least     in or about        July   2015,    and   continuing

22   through November 2017,     in an offense begun outside of the jurisdiction

23   of any particular State and district of the United States, and committed

24   within the    Southern District of California and elsewhere,                   defendant

25   ARIEL BOITEUX,   who will be first brought to the Southern District of

26   California,   knowingly    and   intentionally           conspired   and   agreed   with
27   persons known and unknown to the grand jury, to transmit in interstate

28   and foreign commerce communications containing threats to injure the

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1    reputations of the addressees and of another, with the intent to extort

2    from a person money and other things of value; in violation of Title 18,

3    United States Code, Section 875(d).

4                                       PURPOSE OF THE CONSPIRACY

 5          2.       It was the purpose of the conspiracy for the defendant and his

 6   co-conspirators             to   profit      by   obtaining          sensitive          photographs    and

 7   recordings of victims and demanding payment from the victims in exchange

 8   for    not     publicly disclosing            the    photographs           and    recordings,       and by

 9   selling the photographs and recordings to third parties.

10                                             MANNERS AND MEANS

11           3.      In    furtherance       of    this      conspiracy,        and     to    accomplish    its

12   objects, the following manners and means were used, among others:

13                   a.     The defendant and his co-conspirators, using the business

14   name Amarres Inmediatos,                offered to' conduct rituals that,                    among other

15   things,       would purportedly help foster romantic relationships for the

16   rituals' participants.

17                   b.     The       defendant        and       his     co-conspirators           established

18   websites       for    Amarres      Inmediatos,          including      "amarres- inmediatos. com,"

19   which        contained      information       about         the    services       provided,    purported

20   testimonies from past clients, and contact information.

21                   c.     The defendant and his co-conspirators advertised Amarres

22   Inmediatos on online marketplaces such as MercadoLibre,                                   and on social

23   media platforms such as Facebook and Instagram.

24                   d.     For prospective clients who contacted Amarres Inmediatos,

25   the defendant and his co-conspirators would offer, for a fee, to conduct

26   the advertised rituals remotely.

27                   e.     The defendant and his co-conspirators would provide these

28   individuals          with    a   list   of    items         to    obtain    for    the    ritual,     which


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1    typically included candles, alcohol, food items, and photographs. Once

 2   indi victuals purchased the requested i terns,                     the defendant and his co-

 3   conspirators would explain how to arrange the items and perform the

 4   rituals.     The defendant and his co-conspirators would further instruct

 s the individuals to take photographs and video recordings of the rituals.
 6                f.      During the rituals, the defendant and his co-conspirators

 7   would instruct the individuals to,                    among other things,           drink alcohol,

 8   recite     sexually      explicit     statements,            and   perform     sexual      acts.    The

 9   defendant and his co-conspirators would then instruct the individuals

10   to send photographs and recordings of the rituals to the defendant and

11   his co-conspirators via electronic communications.

12                g.      After    obtaining      the       photographs       and    recordings,          the
13   defendant     and    his     co-conspirators          would        threaten    to    publicize       the

14   photographs and recordings unless the individuals paid money.

15                h.      The     defendant      and       his      co-conspirators          would       post

16   photographs        and recordings      of   the       individuals on publicly available
17   websites    and     social   media    platforms         and    would    threaten      to    allow    the

18   photographs        and   recordings    to   remain publicly              available         unless    the

19   individuals paid the amount of money demanded.

20                i.      The defendant and his co-conspirators would instruct the
21   individuals to wire money through Western Union.

22                j .     The     defendant      and        his     co-conspirators          would       tell
23   individuals that businesses that publish tabloid magazines, among other

24   businesses, would purchase the sensitive photographs and recordings if
25   the individuals refused to pay the amount demanded.

26                k.      The   defendant     and his         co-conspirators            would sell       the
27   sensitive     recordings        to    individuals            purportedly       involved       in     the

28   commercial production and distribution of sexually explicit material.


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1                                             OVERT ACTS

2           4.    In   furtherance   of   this     conspiracy,           and   to    carry      out   its

3    objects, the defendant ARIEL BOITEUX and his co-conspirators committed

4    or caused to be committed,          in the Southern District of California and

5    elsewhere, the following overt acts, among others:

 6                a.    On or about July 28,               2015,    a   co-conspirator obtained

 7   hosting services for the website "amarres-inmediatos.com."

 8                b.    On or about February 24,              2017,     defendant ARIEL BOITEUX

 9   sent    a   message   to   Victim    1    through       WhatsApp      threatening          to    post

10   recordings of Victim 1 on YouTube.
11                c.    On or about March 21, 2017, defendant ARIEL BOITEUX sent

12   a YouTube link to Victim 2 and claimed that he uploaded a video recording

13   to YouTube of Victim 2 engaging in a ritual.

14                d.    On or about October 9,               2017,      defendant ARIEL BOITEUX

15   caused $800 to be wired to a co-conspirator from a Western Union agent

16   location in San Diego, California.

17                e.    On or about October 9, 2017, defendant ARIEL BOITEUX and

18   a co-conspirator retrieved the $800 wired from San Diego, California at

19   Cambios Chaco in Ciudad del Este, Paraguay.

20   All in violation of Title 18, United States Code, Section 371.

21                                              Count 2

22                                   18 U.S.C.         §   87S(d)

23          s.    On or about March 21, 2017, in an offense begun outside of the

24   jurisdiction of any particular State and district of the United States,

25   defendant ARIEL BOITEUX,        who will be             first      brought     to   the    Southern

26   District of California, with the intent to extort money and things of
27   value from Victim 2,        knowingly transmitted in interstate and foreign

28   commerce to the United States,             communications containing a                    threat to


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1    injure the reputation of Victim 2,                    that   is,    defendant ARIEL BOITEUX

 2   threatened to publicize     sexually explicit                   recordings of Victim 2           if

 3   Victim 2 refused to pay a specified amount of money;                           in violation of

 4   Title 18, United States Code, Section 87S(d).

 5                                          Count 3

 6                                   18   u.s.c.       §    875(d)

 7          6.   On or about March 23, 2017, in an offense begun outside of the

 8   jurisdiction of any particular State and district of the United States,

 9   defendant ARIEL BOITEUX,        who will          be     first      brought    to    the    Southern

10   District of California, with the intent to extort money and things of

11   value from Victim 1,      knowingly transmitted in interstate and foreign

12   commerce to the United States,          communications containing a                        threat to

13   injure the reputation of Victim 1,                    that   is,    defendant ARIEL BOITEUX

14   threatened to publicize sensitive recordings of Victim 1 if Victim 1

15   refused to pay a specified amount of money;                        in violation of Title 18,

16   United States Code, Section 875(d)

l7                               FORFEITURE ALLEGATION

18          7.   Upon conviction of one or more of the offenses alleged in this

19   Indictment as set forth in Counts 1 through 3 and pursuant to Title 18,

20   United States Code, Section 981(a) (1) (C), Title 28, United States Code,

21   Section 2461(c),    and Rule 32.2,       Federal Rules of Criminal                     Procedure,

22   defendant ARIEL BOITEUX shall forfeit to the United States any property,

23   real   or   personal,   which   constitutes             or    was    derived        from    proceeds

24   traceable to such violations.

25          8.   If any of the above-described forfeited property, as a result

26   of any act or omission of defendant ARIEL BOITEUX,                            cannot be located

27   upon the exercise of due diligence; has been transferred or sold to, or

28   deposited with, a third person; has been placed beyond the jurisdiction


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 1   of the Court; has been substantially diminished in value; or has been

 2   commingled    with   other   property   which      cannot   be    subdivided   without

 3   difficulty, it is the intent of the United States, pursuant to Title 21,

 4   United States Code, Section 853(p), made applicable herein by Title 28,

 5   United States Code,     Section 2461(c)      1   to seek forfeiture of any other

 6   property of the defendant up to the value of the property described

 7   above subject to forfeiture.

 8   All pursuant to Title 18, United States Code, Section 981(a) (1) (C), and

 9   Title 28, United States Code, Section 2461(c).

10        DATED:    April 18 1 2018.

11                                                     A TRUE BILL:



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14   ADAM L. BRAVERMAN
     United States Attorney
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     By,~ AN~-....
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          Assistant U.S. Attorney
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